Case 2:19-cr-00001-JRG-RSP Document 42 Filed 08/16/19 Page 1 of 3 PageID #: 183



                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF TEXAS
                                 MARSHALL DIVISION

 UNITED STATES OF AMERICA §
                                                     § NO. 2:19-CR-01
 v. § Judges JRG/RSP
                                                     §
 MARK MCLEAN FARMER §

                                          FACTUAL BASIS

         Investigation by Drug Enforcement Agency and the United States Postal Inspector

 disclosed the following facts that establish that I, the Defendant, Mark McLean Farmer,

 committed the conduct described in Count 1 of the information, which charges a violation of 21

 U.S.C. § 846 (conspiracy to distribute and to possess with intent to distribute anabolic steroids)

 and Count 2 of the information, which charges a violation of 18 U.S.C. § 924 (c) (possession of a

 firearm during and in furtherance of a drug trafficking crime). I agree that the following factual

 basis is true and correct:

         1. Beginning in or about August 2018,1 knowingly and intentionally combined,

 conspired, and agreed with others, to distribute anabolic steroids. It was the objective of the

 conspiracy to ea a profit by possessing with the intent to distribute and distributing at least

 2,500 but less than 5,000 units of anabolic steroids, a schedule III controlled substance. Within

 the conspiracy, I served as a distributor of anabolic steroids, receiving the drugs from foreign

 suppliers, and then selling the drugs in smaller quantities to other dealers. I knew that those

 others whom I supplied would further distribute the anabolic steroids before they were purchased

 by end users. I stipulate that: (1) I was personally responsible for the distribution of at least 2,500

 but less than 5,000 units of anabolic steroids, (2) my coconspirators and I distributed at least that

 amount during my involvement in the conspiracy, (3) such distribution was part of the jointly


 Factual Basis -1
Case 2:19-cr-00001-JRG-RSP Document 42 Filed 08/16/19 Page 2 of 3 PageID #: 184



undertaken activities of the conspiracy, (4) I organized this distribution, and (4) I distributed

anabolic steroids through mass-marketing by means of an interactive computer service.

        2. I had agreed with my coconspirators to violate federal drug laws by facilitating

the purchase and distribution of anabolic steroids in the Gregg County, Texas area, which is in

the Easte District of Texas. I knew that the objective of the conspiracy was to distribute

anabolic steroids and I knowingly involved myself in the conspiracy. My coconspirators and I

were interdependent upon each other to achieve our objectives of purchasing and distributing at

least 2,500 but less than 5,000 units of anabolic steroids.

        3. I acknowledge that such acts constitute a violation of 21 U.S.C. § 846, conspiracy

to distribute and to possess with intent to distribute anabolic steroids.

        4. On or about October 30, 2018, in the Easte District of Texas, I possessed a

 firearm in furtherance of a drug trafficking crime. Specifically, I possessed a Heckler and Koch

 USP9 Compact 9 Caliber Pistol that I used to protect myself during drug trafficking activities.

 At the time that I possessed this firearm, I was in the process of delivering anabolic steroids.

         5. I acknowledge that this act constitutes a violation of 18 U.S.C. § 924(c), use,

 carrying, and possession of a firearm during and in furtherance of a drug trafficking crime.

         6. I hereby stipulate that the facts described above are true and correct and I accept

 them as the uncontroverted facts of this case.




                                                        MARK MCLEAN FARMER
                                                        Defendant




 Factu l Basis - 2
Case 2:19-cr-00001-JRG-RSP Document 42 Filed 08/16/19 Page 3 of 3 PageID #: 185




                        Defen ant's counsel's signature an acknowledgment:

                    I have read this Factual Basis a d the Plea Agreement in this matter and have

 reviewed them with my client, Mark McLean Farmer. Based upon my discussions with my

 client, I am satisfied that he understands the terms and effects of the Factual Basis and the Plea

 Agreement and that he is signing this Factual Basis voluntarily.


                :               1                               ¦           ¦¦

 Dated:                                                                           '
                                                         SCOTT RECTENWALD
                                                         Attorney for Defendant




Factual Basis - 3
